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                                                                                    U.S. OiS'i ^'iCTCGUni
                        IN    THE   UNITED   STATES DISTRICT                COURT         AUGUSTA DIV.
                        FOR THE SOUTHERN DISTRICT OF GEORGIA.
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                                       AUGUSTA DIVISION                              wU,1 | \ l,

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UNITED        STATES   OF    AMERICA                 *
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         V.                                                          CR 119-024
                                                     k


                                                     k
CARL     WALKER




                                            ORDER




         Defendant Carl Walker has filed a motion for compassionate

release under 18 U.S.C. § 3582(c)(1) (A) because he is apprehensive

of the COVID-19 pandemic, particularly in a prison setting.                                           Upon

due consideration, the Court denies Walker's request for relief.

         Section 3582(c)(1)(A) provides a narrow path for                                    a district

court         to   reduce       the    sentence           of     a    criminal        defendant          in

\\                                                                           //

     extraordinary       and     compelling          circumstances.                  Prior       to   the


passage of the First Step Act, only the Director of the Bureau of

Prisons ("BOP") could file a motion for compassionate release in

the     district       court.       The First Step Act modified § 3582(c)(1)(A)

to     allow       a   defendant       to    move         a    federal      district        court     for

                                                    N\

compassionate release, but only                          after he has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons

to bring a motion on the defendant's behalf or the lapse of 30

days from the receipt of such                        a        request by the         warden      of the

                                                                       /f

defendant's facility, whichever is earlier.                                 In this case. Walker
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submits evidence that the Warden of FCI Coleman Low has denied his


request for consideration of compassionate                                 release.             The       Court


will therefore address the merits of the present motion.

        This Court may only reduce Walker's sentence if it finds that

\\                                                               n

     extraordinary and compelling reasons                            warrant        such    a       reduction

                                                \\
and     that        such   reduction       is        consistent         with        applicable         policy

                                                                                                              //

statements issued by the [United States] Sentencing Commission.

18     U.S.C.        §    3582(c)(1)(A).             Section         1B1.13    of     the       Sentencing

Guidelines provides the applicable policy statement, explaining

that a sentence reduction may be ordered where a court determines,

upon consideration of the factors set forth in 18 U.S.C. § 3553(a),
          \\                                                                   //
that           extraordinary         and    compelling               reasons          exist         and     the


defendant does not present a danger to the safety of any other

person or the community.                U.S.S.G. § 1B1.13.                The application notes

to      this        policy      statement       list           three    specific            examples         of

extraordinary and compelling reasons to consider reduction of a

defendant's              sentence     under      §        3582(c) (1) (A):            (1)       a     medical


condition; (2)              advanced    age; and           (3)       family circumstances.                  Id.

n.KA)-(C).               A fourth catch-all category provides:                          As determined


by the Director of the Bureau                         of Prisons, there                exists         in    the


defendant's              case   an   extraordinary             and     compelling          reason         other

                                                           n

than.          or    in      combination        with.            the     aforementioned                   three


categories.              Id. n.l(D) (emphasis added).




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       In this case, the only possibly applicable category into which

Walker may fall is a qualifying medical condition, particularly

since the Director of the BOP has not determined he is eligible

for    relief.1       Here,        Walker      states     that     he     suffers       from


hypertension, anxiety and a mental health disorder, which places

him at greater risk to be adversely affected by COVID-19.                          Walker,


however,    bears   the   burden         of   demonstrating       that    compassionate

release    is   warranted.         Cf.   United     States   v.   Hamilton,       715   F.3d


328, 337 (ll^h cir. 2013) (in the context of a motion to reduce



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   Walker insists that this Court now has authority to determine
whether extraordinary and compelling reasons exist outside of the
three enumerated examples in U.S.S.G. § 1B1.13 and independent of
the BOP's determination.   The Court disagrees. The First Step Act
did not render the Sentencing Commission's policy statement an
inappropriate expression of policy. The fact remains that Congress
intended that the Sentencing Commission, not the judiciary,
determine   what   constitutes    an   appropriate  use   of   the
\\                            //

 compassionate release     provision.    See 28 U.S.C. § 944(t).
Indeed, § 3582(c) (1) (A) as amended by the First Step Act still
requires courts to abide by                   policy    statements       issued    by    the
Sentencing  Commission.  See                   18      U.S.C.     §      3582(c)(1)(A).
Accordingly, this Court will not consider circumstances outside of
the specific examples of extraordinary and compelling reasons to
afford    relief.     Accord,       e . q.,    United    States    v.    Lynn,    2019    WL

3805349, at *4 (S.D. Ala. Aug. 12, 2019) ("If the policy statement
needs tweaking in light of Section 603(b) [of the First Step Act],
that tweaking must be accomplished by the [Sentencing] Commission,
not by the courts."); United States v. Johns, 2019 WL 2646663 (D.
Ariz. June 28, 2019); United States v. Cross, 2019 WL 2437463 (E.D.
Wash. June 11, 2019); United States v. Heromin, 2019 WL 2411311
(M.D. Fla. June 7, 2019); United States v. Willis, 2019 WL 2403192
(D.N.M. June 7, 2019); United States v. Shields, 2019 WL 2359231
(N.D. Calif. June 4, 2019) (stating that there is no "authority
for the proposition that the Court may disregard guidance provided
by the Sentencing Commission where it appears that such guidance
has not kept pace with statutory amendments").


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under § 3582(c) (2)) .               To qualify as extraordinary and compelling,

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an inmate's medical condition must be                          serious and advanced               .    .


with   an     end   of    life       trajectory,       U.S.S.G.     §    1B1.13,           app.       note

                                                                               \\

1 (a) (i),     or    must       be     serious       enough      that    it         substantially

diminish [es]       the     ability      of the        [inmate]     to   provide           self-care

within the environment of a correctional facility and from which

                                                          n

he or she is not expected to recover.                           id., app. note 1(a)(ii).

Walker presents no medical evidence that he meets either of these

criteria.       Indeed, his argument seems to be that he will likely

meet   the    criteria         if he    contracts      COVID-19.         Yet, again. Walker

provides no medical evidence to support his alleged serious medical

conditions      or       the    impact     that      COVID-19      would       have         upon       him

individually.         His generalized concern about possible exposure is

at this       point too         speculative       to    qualify     as   extraordinary                 and

                                                                                     \\

compelling.2          As       the     Third   Circuit         explained:                 [T]he       mere


existence of COVID-19 in society and the possibility that it may

spread to a particular prison alone cannot Independently justify

compassionate        release,          especially       considering           BOP's        statutory

role, and its extensive professional efforts to curtail the virus's

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spread.       United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).




2   The Court notes that FCI Coleman Low Is reporting only three
(one inmate and two staff members) confirmed active cases of COVID-
19 in the facility.              See www.bop.gov/coronavirus (last visited on
May 30, 2020).


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In    short,     without    medical   evidence        and   other     necessary

documentation (such as an approved home release plan) from which

this Court may fully evaluate Walker's individual circumstances as

they relate to the COVID-19 pandemic, the Court denies Walker's

request for compassionate release.

        Upon   the   foregoing.   Defendant    Carl    Walker's     motion        for

compassionate release (doc. 85) is DENIED.

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        ORDER ENTERED at Augusta, Georgia, this                   day of June,

2020.




                                          J.   RAN- ‘flfirllALL, 'CHIEF   JUDGE
                                          UNITED   /tates district court
                                                   )N DISTRICT OF GEORGIA




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